                        UNITED STATES COURT OF APPEALS
                            FOR THE EIGHTH CIRCUIT

                                      ___________________

                                          No: 21-1859
                                      ___________________

                                     United States of America

                                                Plaintiff - Appellee

                                                  v.

                                         Oscar Pena-Solis

                                   Defendant - Appellant
______________________________________________________________________________

         Appeal from U.S. District Court for the Northern District of Iowa - Western
                                   (5:20-cr-04061-LTS-1)
______________________________________________________________________________

                                          JUDGMENT


Before GRUENDER, KELLY, and GRASZ, Circuit Judges.


        The court has carefully reviewed the original file of the United States District Court and

orders that this appeal be dismissed as untimely. Judge Kelly would docket the appeal and allow

it to proceed to briefing.

                                                       April 27, 2021




Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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